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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.                                     Case No. 22-cr-0020 (TSC)

 TIM LEVON BOUGHNER,

                   Defendant.


               DEFENDANT’S MOTION TO ORDER BUREAU OF PRISONS
           TO ALLOW MR. BOUGHNER ACCESS TO DISCOVERY MATERIALS

       Defendant Tim Levon Boughner, through counsel, respectfully moves this Court for an

order allowing him access to the discovery materials provided by the government.

       The government filed a sealed complaint against Mr. Boughner on November 10, 2021.

He was arrested in his home state of Michigan on December 8, 2021. On January 12, 2022, he

was ordered held without bond pending trial, and has been detained since that time, for

approximately fifteen months thus far. The undersigned is Mr. Boughner’s third court-appointed

counsel.

       The government has provided voluminous discovery in this case in the form of, inter alia,

investigative reports, electronic communications and video files. Through no fault of his own,

Mr. Boughner has no copies of these materials to the knowledge of undersigned counsel.

Repeated unsuccessful efforts were made, by prior and undersigned counsel, to provide Mr.

Boughner with copies of these discovery materials.

       Mr. Boughner recently was transferred from the Northern Neck Regional Jail in Warsaw,

Virginia, to USP Lewisburg in rural Pennsylvania. Undersigned counsel, who is in the midst of a

jury trial before the Honorable Reggie Walton, made the three-hour drive to see him on Friday,

March 31, 2023. It is the impression of undersigned counsel that Mr. Boughner, who is single
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and childless, has very little contact with the outside world. He is trying to make the

attorney-client relationship work with undersigned counsel, but does not know me and is

burdened by the intense psychological effects of extended incarceration, without access to

persons he knows, far from home.

       Approximately a week ago, we sent Mr. Boughner, via overnight mail, electronic media

containing the government’s discovery materials. For reasons unknown to us, Mr. Boughner still

has not received them, though Federal Express records show that they were delivered to his

institution using the form of media prescribed by USP Lewisburg. Further, during undersigned

counsel’s visit with Mr. Boughner, I tried to play video files for him from the discovery materials

provided by the government, but the laptop computer provided by the institution was unable to

play them.

       Accordingly, it is respectfully submitted that an order should issue requiring USP

Lewisburg to provide Mr. Boughner with meaningful, expedited access to the discovery

materials provided by the government in this case.


Dated: April 2, 2023                          Respectfully submitted,

                                               /s/ Barry Coburn
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                                              Counsel for Defendant
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this second day of April, 2023, I caused the foregoing to be filed

via the Court’s electronic filing system (CM/ECF), which will serve copies upon all counsel of

record.



                                                        /s/ Barry Coburn
                                                        Barry Coburn
